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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                               Byron White United States Courthouse
                                        1823 Stout Street
                                     Denver, Colorado 80257
                                         (303) 844-3157
  Elisabeth A. Shumaker                                                        Chris Wolpert
  Clerk of Court                      October 15, 2019                    Chief Deputy Clerk




  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  RE:       18-1217, United States v. McClaflin
            Dist/Ag docket: 1:17-CR-00168-CMA-1

 Dear Clerk:

 Pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit’s mandate in the
 above-referenced appeal issued today. The court’s September 20, 2019 judgment takes
 effect this date.

 Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court



  cc:       James C. Murphy
            Ann Marie Taliaferro



  EAS/lab
